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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

    FAITH NJOKU,

                 Plaintiff,
                                                   CIVIL ACTION NO. 1:21-cv-01413-
    v.                                             MLB

    WELLSPRING LIVING, INC.,

                 Defendant.


DEFENDANT’S NOTICE OF PLAINTIFF’S FAILURE TO PARTICIPATE
               IN RULE 26(f) CONFERENCE

         Defendant Wellspring Living, Inc. (“Wellspring” or “Defendant”), pursuant

to the Court’s May 18, 2021 Order, files this Notice of Plaintiff’s Failure to

Participate in a Rule 26(f) Conference. In its Order, the Court required the Parties

to participate in a Rule 26(f) conference by June 8, 2021 (because Plaintiff

previously failed to do so despite Defendant’s counsel’s repeated attempts1) and to

notify the Court of the same. (See Dkt. 11). Plaintiff continues to disregard her

obligations in this litigation, including failing to comply with this Court’s Order and

the Federal and Local Rules requiring Parties to participate in Rule 26(f)

conferences. Fed. R. Civ. P. 26(f); LR 16.1. Defendant further states, in addition


1
 Please refer to Dkt. 9 for more detailed information of Defense Counsel’s repeated efforts to
contact Plaintiff to schedule the original Rule 26(f) Conference.
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to the Court sending its May 18, 2021 Order to Plaintiff (at the address Plaintiff

provided the Court for such purposes), Defendant’s counsel e-mailed Plaintiff on

June 2, 2021 at 10:03 AM and June 7, 2021 at 11:12 AM attaching the same Order

and imploring Plaintiff to contact Defendant’s counsel to conduct the Rule 26(f)

conference as the Court required. Defendant’s counsel also called Plaintiff on June

7, 2021 at 2:40 PM to inquire as to Plaintiff’s availability for a Rule 26(f)

conference. 2 (See Ex. A, Copies of E-mails and attachments sent to Plaintiff).

Plaintiff did not respond to Defendant’s counsel’s e-mails or phone call, and she has

not otherwise contacted Defendant’s counsel to participate in a Rule 26(f)

conference.

       Wellspring prays that the Court impose sanctions for Plaintiff’s failure to

comply with the Court’s May 18, 2021 Order, including the dismissal of this case

with prejudice. Wellspring furthers prays for such other and further relief to which

it may be justly entitled.

       Respectfully submitted this 8th day of June, 2021.




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  Counsel for Defendant e-mailed Plaintiff at fnjokui681@gmail.com, which is the e-mail address
listed for Plaintiff on the Statement of Claim she filed in the Magistrate Court of Fulton County,
before Wellspring removed the lawsuit to this Court, and called Plaintiff at 404-933-5596, which
is the telephone number listed for Plaintiff on the docket for this case.


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                                       /s/ Dionysia Johnson-Massie
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                         CERTIFICATE OF SERVICE

      I hereby certify that on June 8th, 2021, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system.

      And I hereby do certify that I have mailed by United States Postal Service the

document to the following non-CM/ECF participants:

                                Faith Njoku, pro se
                              3200 Lenox Road C410
                                Atlanta, GA 30324


                                               /s/ Dionysia Johnson-Massie
                                               Dionysia Johnson-Massie
                                               Georgia Bar No. 393323
